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                                        #:159


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     PREPARED FOOD PHOTOS, INC.
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 9
                         IN THE UNITED STATES DISTRICT COURT
10                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

11
     PREPARED FOOD PHOTOS, INC.,              Civil Action No. 2:23-cv-01831-
12
                                              MEMF-JC
          Plaintiff,
13                                            PLAINTIFF’S MOTION TO
     V.                                       APPEAR VIA ZOOM AT
14                                            DEFAULT JUDGMENT HEARING
15
     L & J MEATS, LLC d/b/a
     MANNING’S MEAT,
16
          Defendant.
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22         Plaintiff Prepared Food Photos, Inc. f/k/a Adlife Marketing &

23   Communications Co. (“Plaintiff”), through undersigned counsel, hereby moves
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 1   this Court for permission to appear telephonically or via zoom at the Default
 2
     Judgment Hearing on Thursday, September 21, 2023 and states as follows:
 3
           1.    On May 2, 2023, Plaintiff filed its Motion for Default Final Judgment
 4
     scheduling it to be heard on June 8, 2023 in Los Angeles, California. See D.E. 15.
 5

 6         2.    On July 6, 2023, Defendant’s representative, Heather Manning, filed

 7   correspondence with the Court on behalf of Defendant. See D.E. 20.
 8
           3.    On July 26, 2023, the Court’s Minute Order entered in Chambers,
 9
     ordered Ms. Manning to appear at the hearing, and re-scheduled the Default
10
     Judgment Hearing to be heard on September 21, 2023 at 10:00 a.m. in Los
11

12   Angeles, California. The Court also stated, “if Heather Manning prefers to appear

13   via Zoom, she should make this request via email and copy the email address of
14
     the attorney for Prepared Foods.” See D.E. 21.
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           4.    Because undersigned will be in Florida at the time of the hearing,
16
     request is hereby respectfully made that the September 21, 2023 hearing proceed
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18
     via Zoom to accommodate undersigned counsel’s current heavy case load and

19   preexisting professional obligations/hearings, as well as to extend the same

20   opportunity to appear via Zoom as was extended to Ms. Manning.
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           5.    Additionally, because the Copyright Act provides for prevailing party
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     fees, it would benefit Defendant to minimize the amount of time that incurred
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     on Plaintiff’s behalf in obtaining the default judgment, request is hereby
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 1   respectfully made that the rescheduled hearing proceed via Zoom to minimize
 2
     additional expense and accommodate counsel’s schedule.
 3
           WHEREFORE, Plaintiff respectfully requests that the Court enter an Order:
 4
     (a) granting this motion and (b) allowing Plaintiff’s counsel to attend the
 5

 6   September 21, 2023 hearing via Zoom, or some other remote means.

 7
     DATED: August 21, 2023.                       COPYCAT LEGAL PLLC
 8
                                                   By: /s/ Lauren M. Hausman____
 9
                                                   Lauren M. Hausman, Esq.
10                                                 Attorney for Plaintiff Prepared Food
                                                   Photos, Inc.
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12
                              CERTIFICATE OF SERVICE
13
           I hereby certify that on August 21, 2023, I electronically filed the foregoing
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     document with the Clerk of the Court using CM/ECF, which will electronically
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16
     serve all counsel of record.

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                                                   By: /s/ Lauren M. Hausman___
18                                                     Lauren M. Hausman, Esq.
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